                                  Nos. 2025-1812, -1813

               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

V.O.S. SELECTIONS, INC., PLASTIC SERVICES AND PRODUCTS, LLC, dba Genova Pipe, MI-
            CROKITS, LLC, FISHUSA INC., TERRY PRECISION CYCLING LLC,
                                                    Plaintiffs-Appellees,
                                              v.
DONALD J. TRUMP, in his official capacity as President of the United States, EXECUTIVE OF-
  FICE OF THE PRESIDENT, UNITED STATES, PETE R. FLORES, Acting Commissioner for
United States Customs and Border Protection, in his official capacity as Acting Commissioner of
the United States Customs and Border Protection, JAMIESON GREER, in his official capacity as
United States Trade Representative, OFFICE OF THE UNITED STATES TRADE REPRESENTA-
  TIVE, HOWARD LUTNICK, UNITED STATES CUSTOMS AND BORDER PROTECTION,
                                                    Defendants-Appellants.


  THE STATE OF OREGON, THE STATE OF ARIZONA, THE STATE OF COLORADO, THE
 STATE OF CONNECTICUT, THE STATE OF DELAWARE, THE STATE OF ILLINOIS, THE
STATE OF MAINE, THE STATE OF MINNESOTA, THE STATE OF NEVADA, THE STATE OF
        NEW MEXICO, THE STATE OF NEW YORK, THE STATE OF VERMONT,
                                                    Plaintiffs-Appellees,
                                              v.
PRESIDENT DONALD J. TRUMP, UNITED STATES DEPARTMENT OF HOMELAND SECU-
RITY, KRISTI NOEM, Secretary of Homeland Security, in her official capacity as Secretary of the
  Department of Homeland Security, UNITED STATES CUSTOMS AND BORDER PROTEC-
 TION, PETE R. FLORES, Acting Commissioner for United States Customs and Border Protec-
 tion, in his official capacity as Acting Commissioner for U.S. Customs and Border Protection,
                                          UNITED STATES,
                                                    Defendants-Appellants.


       On Appeal from the United States Court of International Trade
           Nos. 25-66, -77, Judges Katzmann, Reif, and Restani

              REPLY IN SUPPORT OF EMERGENCY MOTION
                     FOR A STAY PENDING APPEAL

                                                   YAAKOV M. ROTH
                                                    Acting Assistant Attorney General

                                                     Signature block continued
                                                     on inside cover
MICHAEL S. RAAB
BRAD HINSHELWOOD
DANIEL WINIK
SOPHIA SHAMS
  Attorneys, Appellate Staff
  Civil Division, Room 7245
  U.S. Department of Justice
  950 Pennsylvania Avenue NW
  Washington, DC 20530
  (202) 305-8849
                                       TABLE OF CONTENTS

                                                                                                                Page

ARGUMENT ........................................................................................................... 2

I.       The Government Is Likely To Prevail ....................................................... 2

         A.       IEEPA Clearly Authorizes These Tariffs.........................................2

         B.       The Contraband-Drug-Related Tariffs “Deal With” The
                  Identified Threat .................................................................................7

         C.       The CIT’s Failure To Address The Equities Independently
                  Justifies A Stay ....................................................................................8

II.      The Equities Favor A Stay .......................................................................... 9

CONCLUSION ..................................................................................................... 14

CERTIFICATE OF COMPLIANCE
      The CIT’s injunction is legally untenable and risks irreparable eco-

nomic and national-security harms. The CIT misapprehended IEEPA’s text

to unnaturally cabin the President’s tariff authority. The CIT then ignored

equitable requirements for injunctive relief. The result is an illegal injunction

that improperly usurps political choices by the political branches and arro-

gates to the Judiciary a central role in managing foreign negotiations, the

national economy, and national security. The injunction unilaterally dimin-

ishes America’s bargaining position during sensitive trade negotiations, en-

couraging other countries to hold our Nation hostage and catastrophically

harm our economy.

      Plaintiffs’ responses are unpersuasive. Their circumscribed theory of

the President’s tariff authorities would make a hash of interlocking statutory

provisions that give the President flexible tariff authorities. And they cannot

justify the CIT’s failure to consider the profound irreparable harms to for-

eign policy and national security that this injunction would inflict. Instead,

they ask this Court—a court of appellate review—to act as a court of first

view, sift through evidence that the CIT ignored, and supplement the record

with selective quotes from public officials’ media appearances. That is no
way for courts to review one of the most significant injunctions ever to cross

the Judiciary’s docket.

      This Court should grant a stay pending appeal. If the Court denies a

stay, it should extend its administrative stay for seven days to let the gov-

ernment seek relief from the Supreme Court.

                                ARGUMENT

I.    The Government Is Likely To Prevail

      A.    IEEPA Clearly Authorizes These Tariffs

      1.    Plaintiffs’ contention that the challenged tariffs should not be un-

derstood to “regulate” importation, 50 U.S.C. § 1702(a)(1)(B), defies the text.

To “regulate” includes to “control” or “to adjust by rule.” Regulate, Black’s

Law Dictionary 1156 (5th ed. 1979). Imposing tariffs on imports is clearly a

way of “controlling” them. This Court’s predecessor held as much in con-

struing identical language in IEEPA’s predecessor statute, explaining that

the power to “regulate … importation” includes the power to “impos[e] an

import duty surcharge”—i.e., a tariff. United States v. Yoshida International,

526 F.2d 560, 576 (C.C.P.A. 1975). Tariffs also are a means of “adjust[ing]

[imports] by rule” (Black’s); indeed, the Supreme Court has interpreted a

trade statute authorizing the President “to adjust the imports” of a product


                                     -2-
to permit “monetary methods” like tariffs. FEA v. Algonquin SNG, Inc., 426

U.S. 548, 561 (1976); America First Legal Foundation (AFLF) Br. 3-5. As a

textual matter, these tariffs thus squarely fall within IEEPA’s baseline grant

of tariff authority.

      2.    Plaintiffs thus resort to extratextual arguments. But “extratex-

tual considerations” cannot “overcome” a statute’s plain terms; they can

serve only “to help ‘clear up,’” not to “‘create,’” statutory ambiguity. McGirt

v. Oklahoma, 591 U.S. 894, 916 (2020). Regardless, plaintiffs’ extratextual ar-

guments are meritless.

      a.    Plaintiffs are incorrect to suggest that Section 122 of the Trade

Act of 1974, which “grants the President authority to impose restricted tariffs

in response to … ‘balance-of-payments deficits[],’” impliedly “limit[s] any

such authority in the broader emergency powers under IEEPA,” A40.

Courts cannot hold “that one statute ‘displaces’ a second” unless the two

statutes cannot “coexist harmoniously.” Department of Agric. Rural Dev. Ru-

ral Hous. Serv. v. Kirtz, 601 U.S. 42, 63 (2024). If they are “merely complemen-

tary,” courts must effectuate both. Id. Plaintiffs never explain why IEEPA

and Section 122 cannot “coexist harmoniously” when they serve clearly dis-

tinct, “complementary” functions. Section 122 is broader than IEEPA in one

                                      -3-
key respect (it is not limited to declared emergencies) and narrower in an-

other (it authorizes only tariffs responding to one type of concern).

      Plaintiffs try to reframe the question as whether IEEPA “displace[s] …

Section 122” and other “existing statutes that address tariffs.” Oregon Opp.

8. But no one suggests that Section 122 or other authorities should be read

narrowly to accommodate IEEPA; those authorities can be given full effect

without narrowing either Section 122 or IEEPA. There is no basis for plain-

tiffs’ view that only one provision can supply tariff authority to address cer-

tain concerns; Congress commonly enacts overlapping statutes. See Kirtz,

601 U.S. at 63.

      Plaintiffs also read Yoshida to mean that Section 122 displaced TWEA

as the authority for balance-of-payments tariffs. But Congress chose, after

Yoshida and Section 122’s enactment, to incorporate in IEEPA the same lan-

guage that Yoshida had construed broadly in TWEA. Congress cannot plau-

sibly be understood to have narrowed IEEPA’s reach by deliberately adopt-

ing the same language from TWEA.

      Finally, plaintiffs suggest (Oregon Opp. 8-9) that because Section 122

treats balance-of-payments concerns as non-emergencies, they cannot qual-

ify as an “unusual and extraordinary threat” under IEEPA, 50 U.S.C.

                                     -4-
§ 1701(b). But even the CIT accepted the emergency declarations’ validity,

for good reason. Mot. 20. And there is nothing strange about the idea that

lesser balance-of-payments concerns might be addressed in Section 122, yet

more serious balance-of-payments concerns could qualify as emergencies

under IEEPA. Regardless, the concerns identified in the April 2 emergency

declaration go well beyond balance-of-payments issues and include, for ex-

ample, supply-chain vulnerabilities.

      Finally, plaintiffs’ arguments defy “the principle that statutes granting

the President authority to act in matters touching on foreign affairs are to be

broadly construed.” B-West Imports, Inc. v. United States, 75 F.3d 633, 636

(Fed. Cir. 1996). In any event, plaintiffs’ Section 122 arguments are irrelevant

to the contraband-drug-related emergency—but there is no textual basis for

reading IEEPA to authorize one set of tariffs but not the other.

      b.    Plaintiffs urge narrowly construing IEEPA to avoid nondelega-

tion concerns. But the avoidance canon is a tool for interpreting statutes, not

rewriting them. Because no “plausible construction” of IEEPA would sup-

port the CIT’s interpretation, the canon is irrelevant. See Jennings v. Rodri-

guez, 583 U.S. 281, 296 (2018). Regardless, no serious nondelegation concern

exists. The IEEPA authority is broad, not “unbounded” (Oregon Opp. 10),

                                     -5-
and as the V.O.S. plaintiffs concede (Opp. 24), the Supreme Court has recog-

nized that “greater discretion must often be granted to the President in the

foreign affairs realm.” The Court has long blessed broad delegations to the

President to regulate international trade, including through tariffs. See, e.g.,

Algonquin, 426 U.S. at 558-560; J.W. Hampton, Jr., & Co. v. United States, 276

U.S. 394, 406, 409 (1928); AFLF Br. 9-16. And every court of appeals to have

considered the question has upheld IEEPA against nondelegation chal-

lenges. Mot. 17. Plaintiffs ask this Court to disagree only by attacking the

straw-man notion that the government is seeking an unbounded tariff

power.

      c.    Plaintiffs likewise fail to justify the CIT’s invocation of the major-

questions doctrine. Even if the doctrine covered delegations to the Presi-

dent—a subject of disagreement1—it has no application here. IEEPA on its

face delegates flexible power within broad constraints, consistent with Con-

gress’s routine practice of granting the President broad authority regarding

foreign affairs in general and tariffs in particular. See, e.g., Field v. Clark, 143


      1 Plaintiffs mischaracterize the cases.   No other panel member joined
either the relevant portion of Judge Grant’s opinion in Georgia v. President of
the United States, 46 F.4th 1283 (11th Cir. 2022), or Judge Nelson’s concur-
rence in Nebraska v. Su, 121 F.4th 1 (9th Cir. 2024), pet. for reh’g pending.

                                       -6-
U.S. 649, 683-694 (1892) (history of broad delegations of tariff authority); Al-

gonquin, 426 U.S. at 558-560; 19 U.S.C. § 1338 (Smoot-Hawley tariffs); AFLF

Br. 6-9. And to the extent the major questions doctrine does apply, IEEPA

supplies the requisite “‘clear … authorization,’” West Virginia v. EPA, 597

U.S. 697, 723 (2022), for the reasons discussed above and in our motion.

      B.    The Contraband-Drug-Related Tariffs “Deal With” The
            Identified Threat

      Plaintiffs try to defend the CIT’s conclusion that the contraband-drug-

related tariffs are unauthorized because they do not “deal with” the emer-

gency identified by the President, 50 U.S.C. § 1701. But this Court refuses to

“second-guess the facts found and measures taken by the President” in the

exercise of his international-trade authorities. See, e.g., PrimeSource Building

Prods. v. United States, 59 F.4th 1255, 1263 (Fed. Cir. 2023); AFLF Br. 16-18.

And the Supreme Court has recognized—in an opinion plaintiffs ignore—

that asset-blocking orders under IEEPA “serve as a ‘bargaining chip’ to be

used by the President” “in negotiating the resolution of a declared national

emergency.” Dames & Moore v. Regan, 453 U.S. 654, 673 (1981). Plaintiffs

never explain why tariffs designed to create leverage in international nego-

tiations over resolving an emergency are not a means of “dealing with” that



                                      -7-
emergency—particularly given the President’s subsequent determinations

that Mexico and Canada had taken steps to address the emergencies. See

Mot. 8.

      C.    The CIT’s Failure To Address The Equities Inde-
            pendently Justifies A Stay

      Finally, plaintiffs cannot defend the CIT’s failure to consider the equi-

table prerequisites for injunctive relief. Plaintiffs claim “the CIT explained”

that “a permanent injunction is necessary because of the ‘compelling public

interest in ensuring that governmental bodies comply with the law’ and ‘the

lack of any cognizable hardship borne by the United States in the form of its

non-enforcement of orders issued ultra vires.’” Oregon Opp. 15. But the CIT

offered that explanation only in its order holding in abeyance the govern-

ment’s stay motions. B12. That post hoc reasoning cannot salvage the lack

of such reasoning to support the injunction.

      That belated reasoning is insufficient regardless. Even when a court

has concluded that the government’s conduct is illegal, the court must con-

sider the injunction’s countervailing harms to the public interest. See, e.g.,

Winter v. NRDC, 555 U.S. 7, 32 (2008); Defense Distributed v. Department of




                                     -8-
State, 838 F.3d 451, 459-460 (5th Cir. 2016). The CIT’s failure to conduct that

analysis was a clear abuse of discretion.

II.   The Equities Favor A Stay

      1.    The CIT’s injunction would undermine the President’s ability to

carry out foreign-policy and national-security objectives. Mot. 1-2, 22-25.

Multiple Cabinet members explained that ongoing negotiations are “prem-

ised on the credible threat of enforcement of the IEEPA tariffs” and that the

injunction could compromise that leverage so that “foreign counterparts will

have reduced incentives to reach meaningful agreements.” A76 (Com-

merce); see A81 (State); A86 (Treasury); A90-91 (USTR).

      In response, plaintiffs selectively quote statements by various Admin-

istration officials, after the CIT’s decision, that negotiations have continued

and that other statutory tariff authorities remain available. Oregon Opp. 18-

19; V.O.S. Opp. 11. Plaintiffs mischaracterize the statements and ignore that

this Court subsequently stayed the CIT’s injunction.

      The irreparable harm from this sweeping injunction does not disap-

pear just because the President has other tariff authorities that might support

pieces of the challenged tariffs. As Secretary Lutnick explained (A75-76),

IEEPA provides the most flexible, effective means for addressing the grave


                                     -9-
emergencies the President has declared. See B2 (head of National Economic

Council emphasizing that IEEPA supplies “the most authority for doing

what we’re exactly doing”); B4 (USTR explaining that another statute was

not invoked because of its more limited authorities). Upending the existing

tariffs at this critical juncture on the theory that the President can hypothet-

ically impose other (less effective) tariffs later, under other authorities, also

does nothing to solve the timing problem: The emergencies are looming

now, negotiations are proceeding now, and the CIT’s injunction threatens

them.

        Plaintiffs also pick out statements about continuing negotiations de-

spite the CIT’s ruling. But those negotiations may fail, or produce less fa-

vorable terms, where trading partners have “reduced incentives to reach

meaningful agreements.” A76. Plaintiffs’ addendum includes a European

Union official’s statement that “uncertainty as to the legality of the reciprocal

tariffs certainly gives [the EU] extra leverage” in negotiations. B9. And trad-

ing partners are presently factoring into their assumptions the likelihood

that this Court will stay the CIT’s injunction pending appeal. See B7 (USTR

explaining that the government has a “strong case” on appeal, and “a stay

from the circuit court right now,” as context for statement that “other

                                     - 10 -
countries … are treating [the CIT’s injunction] as just kind of a bump in the

road rather than any fundamental change”); B2-3, B8 (similar). Allowing the

injunction to take effect would significantly affect negotiations addressing

threats to national security and the economy, particularly given the July 9

expiration of the current pause on certain tariffs.

      Plaintiffs insist any harm to the government is irrelevant because the

President “tried to exercise authority he does not have.” Oregon Opp. 19; see

V.O.S. Opp. 7-10. That argument recycles plaintiffs’ faulty merits arguments

and ignores that injunctive relief “does not follow from success on the merits

as a matter of course,” Winter, 555 U.S. at 32. Even if plaintiffs were likely to

prevail on appeal, the injunction still should not take effect pending appeal

given the severe, irreparable harms the injunction would inflict on the gov-

ernment. The only other court that has held the challenged tariffs invalid

stayed its ruling “to protect the President’s ability to identify and respond to

threats to the U.S. economy and national security.” Order, Learning Resources

v. Trump, No. 25-cv-1248, Dkt. 42 (D.D.C. June 3, 2025).

      2.    By contrast, plaintiffs who import goods, and thus would pay

tariffs while the injunction is stayed, agree that refunds are available for tar-

iffs ultimately held unlawful. They simply treat refunds as insufficient to

                                     - 11 -
redress other consequences, such as reputational harms to their businesses.

But all tariffs “necessarily have an adverse affect on … importers,” and the

CIT has correctly rejected a “per se irreparable harm rule” based on claims

of potential “adverse economic impact” from tariffs. Corus Grp. v. Bush, 217

F. Supp. 2d 1347, 1355 (Ct. Int’l Trade 2002). Even assuming such collateral

consequences could constitute irreparable harm, those predicted harms can-

not justify allowing this injunction to take effect, given the severe and irrep-

arable harm that it would pose to the President’s ability to exercise his dele-

gated powers in support of national security.

      Finally, to the extent plaintiffs assert harms other than those of import-

ers—like the potential harm of having to pay higher prices for products that

an importer decided to mark up in response to the tariffs (Oregon Opp. 21)—

those harms are not judicially cognizable. “[P]urchasers have no remedy to

challenge [a] tariff classification.” Totes-Isotoner Corp. v. United States, 594

F.3d 1346, 1352 (Fed. Cir. 2010). More generally, “a federal court cannot re-

dress ‘injury that results from the independent action of some third party

not before the court,’” Murthy v. Missouri, 603 U.S. 43, 57 (2024), like an im-

porter’s decision to raise prices.




                                     - 12 -
      3.     Plaintiffs resist a stay even as to nonparties, arguing that tariffs

must be uniform and only a universal injunction can protect plaintiffs’ inter-

ests pending appeal. V.O.S. Opp. 13, 15-17; Oregon Opp. 23. Those defenses

of universal relief fail.

      Article I’s uniformity requirement is a limitation on Congress; it is not

a license for courts to exceed their Article III authority. Allowing the tariffs

to take effect against nonparties during this appeal thus would not produce

any constitutionally problematic disuniformity, as illustrated by the party-

specific injunction (which the court stayed pending appeal) in another case

challenging these tariffs, see Learning Resources v. Trump, 2025 WL 1525376,

at *15 (D.D.C. May 29, 2025). In contrast, enjoining all the challenged tariffs

as to everyone has no basis in Article III or equity. See Mot. 26; AFLF Br. 18-

20.

      Nor can plaintiffs justify the CIT’s overbroad relief with speculation

that application of the tariffs to unrelated non-party importers—and even as

to goods plaintiffs never purchase—may have some effect on plaintiffs. Such

attenuated claims of injury could not suffice even for standing, much less

universal injunctive relief. Otherwise, universal relief would be appropriate

in every tariff case.

                                      - 13 -
                               CONCLUSION

      This Court should stay the judgment pending appeal. If the Court de-

nies a stay, it should continue its administrative stay for seven days to let the

government seek relief from the Supreme Court.

                                          Respectfully submitted,

                                              YAAKOV M. ROTH
                                               Acting Assistant Attorney General
                                              MICHAEL S. RAAB
                                              BRAD HINSHELWOOD

                                               /s/ Daniel Winik
                                              DANIEL WINIK
                                              SOPHIA SHAMS
                                                 Attorneys, Appellate Staff
                                                 Civil Division, Room 7245
                                                 U.S. Department of Justice
                                                 950 Pennsylvania Avenue NW
                                                 Washington, DC 20530
                                                 (202) 305-8849
                                                 Daniel.L.Winik@usdoj.gov




                                     - 14 -
                   CERTIFICATE OF COMPLIANCE

     This reply complies with the type-volume limit of Federal Rule of Ap-

pellate Procedure 27(d)(2)(C) because it contains 2,598 words. This motion

also complies with the typeface and type-style requirements of Federal Rule

of Appellate Procedure 32(a)(5)-(6) because it was prepared using Word for

Microsoft 365 in 14-point Book Antiqua, a proportionally spaced typeface.

                                         /s/ Daniel Winik
                                         Daniel Winik
